                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

COALITION FOR INDEPENDENT                      §
TECHNOLOGY RESEARCH,                           §
     Plaintiff,                                §
                                               §
v.                                             §   No. 1:23-cv-00783
                                               §
GREG ABBOTT, in his official capacity          §
as Governor of the State of Texas,             §
STEVEN C. MCCRAW, in his official              §
capacity as Director and Colonel of the        §
Texas Department of Public Safety,             §
AMANDA CRAWFORD, in her official               §
capacity as Executive Director of the          §
Texas Department of Information                §
Resources and Chief Information Officer        §
of Texas, DALE RICHARDSON, in his              §
official capacity as Chief Operations          §
Officer of the Texas Department of             §
Information Resources, ASHOK MAGO,             §
LAURA WRIGHT, LINDY RYDMAN,                    §
CARLOS MUNGUIA, MARY DENNY,                    §
MILTON B. LEE, MELISA DENIS,                   §
DANIEL FEEHAN, and JOHN SCOTT,                 §
JR., in their official capacities as members   §
of the Board of Regents of the University      §
of North Texas System, and MICHAEL             §
WILLIAMS, in his official capacity as          §
Chancellor of the University of North          §
Texas System,                                  §
         Defendants.                           §
                         DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                         MOTION FOR A PRELIMINARY INJUNCTION


KEN PAXTON                                          KIMBERLY GDULA
Attorney General of Texas                           Acting Division Chief, General Litigation
                                                    Division
BRENT WEBSTER
First Assistant Attorney General                    TODD A. DICKERSON
                                                    Attorney-in-Charge
GRANT DORFMAN                                       Assistant Attorney General
Deputy First Assistant Attorney General             Texas Bar No. 24118368
                                                    General Litigation Division
JAMES LLOYD                                         P.O. Box 12548, Capitol Station
Deputy Attorney General for Civil Litigation        Austin, Texas 78711-2548
                                                    (512) 463-2120 | FAX: (512) 320-0667
                                                    Todd.Dickerson@oag.texas.gov


                                   COUNSEL FOR DEFENDANTS




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                                             INTRODUCTION

        The U.S. government, 36 states, and 14 countries have banned TikTok on government devices

due to it being a national security threat. One main concern is the Chinese Communist Party (“CCP”)

can exploit its ties to TikTok to access its extensive user data. Indeed, Chinese law requires TikTok to

hand over this sensitive information upon request. And TikTok, through its parent company

ByteDance, has used this data to spy on U.S. journalists in the past. Put simply, there are good reasons

other states and governments around the world are limiting access to TikTok.

        Coalition for Independent Technology Research sued Texas over its partial TikTok ban, which

restricts access to TikTok on state-issued devices and personal devices that use state information

networks. Coalition argues that Texas’s partial ban violates the First Amendment, even though this

ban is indistinguishable from those passed by many other state and foreign governments. Coalition’s

claims are baseless, and no U.S. court has ever invalidated a partial TikTok ban such as Texas’s.

        This Court should deny Coalition’s motion for a preliminary injunction. To begin, Coalition

did not assert viable First Amendment claims, so it will not succeed on the merits. Texas’s partial ban

reaches only nonpublic forums (state-owned devices and networks), so it need only be “reasonable”

to be constitutional. Texas’s ban easily meets this light standard as it: (1) tracks the restrictions imposed

by other states and countries; (2) plugs a vulnerability in state agencies’ systems and networks; (3)

focuses on a company with troubling ties to a foreign adversary; and (4) leaves open ample alternative

methods for expression. Coalition also has justiciability challenges, as Defendants will explain below.

        The other preliminary injunction factors also favor Defendants. The harm to Coalition’s

members is minimal—Coalition identified only one member whose scholarship is allegedly limited by

the ban. And the harm to Texas if the ban is lifted is significant; it would open a vulnerability in Texas’s

network that could be exploited by CCP-sponsored hackers. Finally, this Court has held that an

unjustified six-month delay in seeking emergency relief weighs against issuing a preliminary injunction.


                                                     1
Coalition waited longer than that here, without good cause for its delay.

                                             BACKGROUND

I.      TikTok Has Deep Ties to the Chinese Government.

        The CCP looms large over any Chinese-based company, and it has exploited its authority over

Chinese tech companies in the past. 1 The CCP can exert state power over TikTok through its

corporate structure. TikTok is owned by ByteDance, a Chinese company. 2 ByteDance’s executives are

“heavily involved in TikTok’s decision-making,” so much so that the two companies’ boundaries are

“almost non-existent.” 3 ByteDance, in turn, has deep ties to the Chinese government. For instance,

one former ByteDance executive reported that the CCP has a “superuser credential” at ByteDance,

giving it access to “all data collected by ByteDance including those of U.S. users.” 4 And Forbes found

that 300 ByteDance employees “previously worked for Chinese state media publications.” 5

II.     The CCP Has Tremendous Power Over Chinese-Based Companies.

        The “Douyin” and “Jack Ma” incidents highlight the CCP’s broad power over Chinese

companies. In 2021, the Chinese government took a 1% stake in Douyin, which is China’s version of

TikTok run by another ByteDance subsidiary. 6 This is known as a “golden share,” a nominal interest

that “allow[s] government officials to be directly involved in [the business].” 7 Through this 1%



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  Lingling Wei, China’s New Way to Control Its Biggest Companies: Golden Shares, WALL ST. J. (Mar. 8, 2023),
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  Laura He, China Still Wants to Control Big Tech, It’s Just Pulling Different Strings, CNN (Jan. 27, 2023),
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                                                     2
interest, the Chinese government controlled one-third of the subsidiary’s board seats, meaning the CCP

could exert influence well beyond its small equity stake. 8

        The Chinese government can devastate even its richest private citizens. Take Jack Ma, the

founder of the wildly successful tech company Alibaba. Ma lightly criticized Chinese regulations during

a speech in October 2021. 9 He was “summoned by Chinese authorities for questioning” a week later. 10

The day after that, the Chinese government nixed a record-breaking IPO for one of Ma’s companies,

despite approving it earlier. 11 Ma disappeared from public life for years after this incident, and his

fortune has since been cut in half. 12 Following two years of “hefty fines and sanctions,” the CCP took

its “golden share” of Alibaba. 13 Ma ceded control of the company soon after. 14

III.    The Chinese Government Codified its Power to Access Companies’ User Data.

        In 2017, the CCP implemented a law that “requires companies to give the government any

personal data relevant to the country’s national security.” 15 As FBI Director Christopher Wray

explained, this law forces Chinese companies “to do whatever the government wants them to do in

terms of showing them information or serving as a tool for the Chinese government.” 16 This means

TikTok’s extensive user data is at the CCP’s fingertips. This includes users’: (1) personal messages; (2)



8
  Whalen, supra note 6.
9
   Charlie Campbell, Where is Alibaba Founder Jack Ma? What the Saga of One of the World’s Richest Men
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    TikTok: Why do Countries Think Chinese Tech Firms are a Security Risk?, BBC (Mar. 24, 2023),
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                                                    3
credit card information; (3) phone and social network contacts; (4) watched videos; (5) search history;

(6) “keystroke patterns or rhythms”; and (7) location data. 17

IV.     ByteDance Covertly Tracked U.S. Reporters Using TikTok.

        In late 2022, Forbes published a series of articles exposing TikTok’s ties to the CCP.

ByteDance responded by secretly tracking Forbes journalists’ user data from TikTok to unearth the

source of the leaks. 18 ByteDance later admitted “that its employees had inappropriately obtained the

data” of the American users in question. 19 Nothing stops the Chinese government from doing the

same tracking, or more, by exploiting its access to TikTok.

        In fact, recent media reports indicate that “[t]he web browser used within the TikTok app can

track every keystroke made by its users.” 20 This practice, also known as “keylogging,” is often used by

hackers to “intercept a victim’s usernames, passwords, and other sensitive information.” 21 Per the

New York Times, it is “not common” for a major commercial application to contain this function. 22

        Let that sink in. It’s possible that, through the Trojan horse of an addictive social media

platform, the CCP has effectively tricked over 100 million Americans into downloading malicious

hacking software that can be used to invade their most intimate secrets and ruin their lives.

V.      Numerous States and Countries Restrict Access to TikTok.

        Given the issues above, it should be no surprise that states and governments across the world

are starting to restrict access to TikTok. Both the Biden and Trump Administrations banned TikTok



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   Privacy Policy, TIKTOK (last updated May 22, 2023), http://tinyurl.com/27rbp89v.
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   See, e.g., Paul Mozur et al., TikTok Browser Can Track Users’ Keystrokes, According to New Research, N.Y.
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22
   Paul Mozur et al., supra note 20.
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on government devices due to national security concerns, 23 and 36 states in this country have similarly

restricted TikTok. 24 As Representative Raja Krishnamoorthi explained, there is “widespread concern

[about TikTok] at this point—it’s not just Republicans, it’s not just Democrats.” 25

        Looking beyond our nation’s borders, each of the “five eyes” intelligence-sharing partners—

U.S., Canada, Britain, New Zealand, and Australia—banned TikTok on governmental devices within

weeks of each other. 26 So too did Belgium, 27 Denmark, 28 Estonia, 29 the European Union, 30 India, 31

Latvia, 32 Netherlands, 33 Norway, 34 and Taiwan. 35 Texas is not jumping at its shadow. TikTok is a

worldwide danger for reasons well beyond it being an addictive social media application. And it is

alarming that many of the best intelligence agencies on the planet agree on this point.




23
   Executive Order 13942, 85 FR 48637 (Aug. 6, 2020); Feb. 27, 2023 Memorandum for the Heads of
Executive Departments and Agencies, OFF. MGMT. & BUDGET (the “February 27th Memorandum”), available
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   Andrew Adams, Updated: Where is TikTok Banned? Tracking State by State, GOV’T TECH. (last updated
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CBSNEWS (Mar. 1, 2023), http://tinyurl.com/3c3jux3j.
                                                    5
VI.    An Overview of Texas’s Partial TikTok Ban.

       In December 2022, Governor Abbott banned the use of TikTok on state-issued devices. 36 In

this Directive, he explained that media reports had exposed TikTok’s close ties to the CCP and

revealed that this application was a threat to Texas’s “sensitive information and critical

infrastructure.” 37 Governor Abbott also instructed the Department of Information Resources

(“DIR”) and the Department of Public Safety (“DPS”) “to develop a model plan that other state

agencies can deploy” covering whether the ban should extend to personal devices. 38

       DIR and DPS issued the Model Plan in January 2023. 39 The plan proposed that the TikTok

ban should extend to personal devices used “to conduct state business.” 40 The plan defined “state

business” to “include[] accessing any state-owned data, applications, email accounts, or non-public

facing communications.” 41

       The Texas Legislature then passed SB 1893, which codified most of the Directive. 42 Under SB

1893, government entities must adopt a policy “prohibiting the installation or use of [TikTok] on any

device owned or leased by the governmental entity and requiring the removal of covered applications

from these devices.” 43 Taken together, state employees are barred from accessing TikTok on (1) state-

issued devices and (2) personal devices used to connect to state networks. The Directive, Model Plan,

and SB 1893 contemplate that state agencies are responsible for banning TikTok at their respective

agencies. 44 This tracks Tex. Admin. Code § 202.20(a), which states: “The agency head of each state




36
   ECF 1-2, 2.
37
   Id.
38
   Id. at 3.
39
   ECF 1-3.
40
   Id. at 6.
41
   Id.
42
   Tex. Gov’t Code §§ 620.001 et seq.
43
   Id. at § 620.003(a); see also id. at § 620.001(1).
44
   See ECF 1-2, 3; ECF 1-3, 4, 8–9; Tex. Gov’t Code § 620.003(a).
                                                  6
agency is ultimately responsible for the agency’s information resources.” Tex. Admin. Code § 202.70(a)

similarly provides: “The agency head of each state institution of higher education is ultimately

responsible for the security of state information resources.”

                                        STANDARD OF REVIEW

        To obtain a preliminary injunction, the moving party must show: “(1) a substantial likelihood

of success on the merits, (2) a substantial threat of irreparable harm if the injunction does not issue,

(3) that the threatened injury outweighs any harm that will result if the injunction is granted, and (4)

that granting the injunction is in the public interest.” 45 The purpose of a preliminary injunction “is to

maintain the status quo until the parties have the chance to adjudicate the merits.” 46 Such an injunction

is an “extraordinary” and “drastic” remedy that is “not to be granted routinely.” 47

                                               ARGUMENT

I.      Coalition is Not Likely to Succeed on the Merits.

        A.      Most of Coalition’s Claims are Nonjusticiable.

        Coalition’s claims are largely nonjusticiable for the reasons previously explained in Defendants’

motion to dismiss. Coalition can’t establish the Ex parte Young exception for all Defendants except

Chancellor Williams as (1) these Defendants are not the statutorily tasked enforcement officers and

(2) they do not have the requisite enforcement connection to the laws and policies in question. 48

Further, Coalition lacks standing to challenge Texas’s ban as applied against any public universities

other than UNT as Coalition did not: (1) sue officials from universities other than UNT; (2) allege




45
   Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 640–41 (5th Cir. 2023).
46
   Feds for Med. Freedom v. Biden, 63 F.4th 366, 389 (5th Cir. 2023); see also Martinez v. Mathews, 544 F.2d
1233, 1243 (5th Cir. 1976) (“Mandatory preliminary relief, which goes well beyond simply maintaining
the status quo pendente lite, is particularly disfavored, and should not be issued unless the facts and
law clearly favor the moving party.”) (citation omitted).
47
   White v. Carlucci, 862 F.2d 1209, 1211 (5th Cir. 1989).
48
   ECF 21, 18–19.
                                                     7
that it has members from these other schools who would have standing to sue; and (3) allege that the

challenged ban has been applied to its members at any other schools. 49

        B.      Coalition did Not Assert Viable First Amendment Claims.

        First Amendment rights are more limited in the context of government-owned property. 50

Courts “recognize three types of government-controlled spaces: traditional public forums, designated

public forums, and nonpublic forums.” 51 The level of scrutiny turns on the type of forum involved.

For nonpublic forums, “[t]he government may reserve such a forum for its intended purposes,

communicative or otherwise, as long as the regulation on speech is reasonable and not an effort to

suppress expression merely because public officials oppose the speaker’s view.” 52

                1.       UNT’s IT Resources are Nonpublic Forums.

        Per Coalition, Professor Vickery cannot use her (1) “university-owned laptop” or her

“university-owned on-campus desktop” to access TikTok on “university-managed internet networks”

and (2) personal cellphone because she “also uses it to access” UNT services such as her “university

email” and “university Zoom account.” 53All these devices fall under the umbrella of “IT resources.” 54

These IT resources are not traditional public forums—i.e., forums that “immemorially” have been

held open for First Amendment purposes. 55 Thus, the question is whether UNT’s IT resources are

designated or nonpublic forums. As shown below, only a nonpublic forum is implicated here.

                         (a)     UNT Heavily Regulates its IT Resources.

        The government creates a nonpublic forum when it requires individuals to “obtain



49
   Id. at 19–20.
50
   Int’l Soc. for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678 (1992).
51
   Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1885 (2018).
52
   Id. (quotations omitted).
53
   ECF 1, ¶¶ 46–49.
54
   See Ex. 3, 9.
55
   United States v. Am. Libr. Ass’n, Inc., 539 U.S. 194, 205–06 (2003); see also Ark. Educ. Television Comm’n
v. Forbes, 523 U.S. 666, 678 (1998).
                                                     8
permission” to access its property or otherwise regulates use of that property. 56 Supreme Court

precedent distinguishes “‘general access,’ which indicates the property is a designated public forum,

and ‘selective access,’ which indicates the property is a nonpublic forum.” 57

        UNT heavily regulates its IT resources. The evidence shows that UNT: (1) specifies that its

“information resources are a non-public forum”; 58 (2) allows only “authorized” users to access its

resources; 59 (3) retains the “sole discretion” to “revoke authorization at any time” and to “limit the

use of Information Resources”; 60 and (4) restricts its IT resources in many other ways. 61 Thus, UNT

restricts use of and access to its IT resources, which means the nonpublic forum analysis applies here.

                        (b)     The “Nature of the Government Property” Further Supports a
                                Finding that UNT’s IT Resources Are Nonpublic Forums.

        In Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., the Supreme Court noted that a

government workplace forum is more likely to be considered nonpublic. The Court explained that

“[t]he Government, as an employer, must have wide discretion and control over the management of

its personnel and internal affairs.” 62 Here, Coalition admits UNT provides IT resources to professors

like Vickery to facilitate their work for UNT. 63 That UNT is largely acting as an employer in this regard

“strengthens the conclusion” that UNT’s IT resources are nonpublic forums. 64

        Relevant caselaw shows that UNT’s IT resources are nonpublic forums. In United States v.

American Library Association Inc., the Supreme Court found that a public library’s system of computers




56
   Ark. Educ. Television Comm’n, 523 U.S. at 679–80; Mansky, 138 S. Ct. at 1886.
57
   Ark. Educ. Television Comm’n, 523 U.S. at 679 (citations omitted).
58
   Ex. 4, 2–3. This policy is publicly available at the following website: http://tinyurl.com/mff4p5un.
59
   Ex. 3, 18, 24, 40; Declaration of Richard Anderson (“Anderson Decl.”), ¶¶ 9–10. UNT System’s
Information Security Handbook is publicly available at http://tinyurl.com/488rfn6v.
60
   Ex. 4, 3; Anderson Decl., ¶ 10.
61
   See, e.g., Ex. 3, 40, 64; Ex. 4, 7–9.
62
   Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 805 (1985) (quotations omitted).
63
   See ECF 1, ¶¶ 46–49.
64
   See Cornelius, 473 U.S. at 805.
                                                    9
furnishing internet access was a nonpublic forum. 65 And courts have found the following to be

nonpublic forums: (1) a school’s internal mail system (including email); (2) a prison’s electronic system

for communicating with inmates; (3) a college’s electronic system for attending virtual classes and

submitting assignments; (4) state computer internet terminals; and (5) university computer services. 66

This Court should follow all others and find that UNT’s IT resources are nonpublic forums.

                2.      The Partial TikTok Ban is Reasonable.

        It is undisputed that Texas’s partial ban is not a viewpoint-based restriction. Thus, the question

is whether this ban is “reasonable in light of the purpose served by the forum[s].” 67 It clearly is.

        UNT provides IT resources mainly “for the purpose of conducting University business.” 68

Other “purposes” include the need for privacy, the safety of its users, and the security of the system.

UNT’s IT resources would be useless if shut down by a cyberattack. And individuals would not utilize

these resources if use carried a significant risk of being hacked.

        The partial TikTok ban is reasonably related to these purposes. Again, the CCP can use its

access to TikTok or its 2017 national security law to exploit users’ location data, passwords, and other

sensitive data. This threat carries obvious dangers. Stolen passwords could be used to access UNT’s

network. Sensitive cyber-defense research could be funneled directly to the CCP. And so on. The risks

are especially salient for government entities, which are “particularly visible targets” for cyberattacks




65
   539 U.S. 194, 205–07 (2003).
66
   Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 46–48 (1983); Chiu v. Plano Indep. Sch.
Dist., 260 F.3d 330, 350 (5th Cir. 2001); Pichelmann v. Madsen, 31 F. App’x. 322, 327 (7th Cir. 2002);
Witzke v. Bouchard, No. 22-13070, 2023 WL 3919303, at *6 (E.D. Mich. June 9, 2023); Collins v. Putt,
No. 3:17-CV-01621(AVC), 2019 WL 8501541, at *1, 4 (D. Conn. Mar. 28, 2019); Nickolas v. Fletcher,
No. 3:06 CV 00043 KKC, 2007 WL 1035012, at *1, 5–6 (E.D. Ky. Mar. 30, 2007); Loving v. Boren, 956
F. Supp. 953, 954 (W.D. Okla. 1997).
67
   Cornelius, 473 U.S. at 806.
68
   Ex. 4, 3; see also Ex. 5, publicly available at http://tinyurl.com/mrh9wjx2.
                                                    10
according to the FBI. 69 And there have been numerous recent hacks against government entities. 70

        Texas’s partial ban is reasonably aimed at closing a vulnerability to its IT system. Texas was

not required to wait for the CCP to hack state agencies before acting to prevent this threat: “[T]he

Government need not wait until havoc is wreaked to restrict access to a nonpublic forum.” 71 Also,

Texas’s partial ban leaves open ample alternative channels for communication. State employees and

students can still use TikTok on personal devices that do not connect to state networks. Also notable,

state employees and students can use practically any other social media application other than TikTok.

        Finally, Texas was allowed to credit the wisdom and judgment of the many other governments

that have also restricted access to TikTok. 72 As the Fifth Circuit noted in Gibson v. Collier: “There is no

reason why—as a matter of either common sense or constitutional law—one state cannot rely on the

universally shared experiences and policy determinations of other states.” 73 Gibson’s statement has

more force here. Our federal government and its allies—with their sophisticated intelligence resources

and network of confidential sources—classify TikTok as a national security threat. A ruling against

Defendants here amounts to a finding that these governments are all being unreasonable.

                3.      Texas’s Partial TikTok Ban Would Survive Even More Rigorous
                        Scrutiny.

        Coalition’s claims fail under even the higher scrutiny applied to designated and traditional

public forums. It is undisputed thar Texas’s ban is not a viewpoint- or content-based restriction. Thus,

the question is whether this ban is “narrowly tailored to serve a significant government interest[] and

leave[s] open ample alternative channels of communication.” 74



69
    High-Impact Ransomware Attacks Threaten U.S. Businesses and Organizations, FBI (Oct. 2, 2019),
http://tinyurl.com/2axw4r53.
70
   ECF 21, 25–26.
71
   Cornelius, 473 U.S. at 810.
72
   See Fla. Bar v. Went For It, Inc., 515 U.S. 618, 628 (1995).
73
   920 F.3d 212, 224 (5th Cir. 2019).
74
   Perry Educ. Ass’n, 460 U.S. at 45; see also Mansky, 138 S. Ct. at 1885.
                                                    11
        Texas’s ban serves at least three interests: privacy, security, and public safety. These are

significant government interests under binding precedent. 75 And the consensus that TikTok poses a

security threat, coupled with media reports showing the CCP’s troubling ties to this company, satisfy

the government’s light burden on the “interest” issue. 76

        As to tailoring, Texas’s partial ban is narrowly tailored for the same reasons it is “reasonable.”

As one court recently explained, limiting a security-related restriction to government devices is the

“obvious alternative” to fully banning a Chinese-based application. 77 Texas did not violate the First

Amendment when it adopted the “obvious alternative” here.

        The Supreme Court’s Ward v. Rock Against Racism decision is instructive. First, Ward found, in

the intermediate scrutiny context, that a regulation is valid so long as the government entity “could

reasonably have determined that its interests overall would be served less effectively without the

[regulation] than with it.” 78 Here, Texas’s interests in privacy, security, and safety would be “served

less well” absent the partial TikTok ban. Coalition doesn’t dispute that this ban makes it somewhat

harder for the CCP to exploit its ability to access TikTok to the state’s detriment. Even a minor

reduction in risk would justify Texas’s actions. Ward also advises that this Court should be hesitant to

second-guess Texas’s and the federal government’s responses on the TikTok issue. 79

        Second, Coalition argues that Texas’s partial ban is unconstitutional as it lacks a narrow

exception for certain university professors. Yet Ward shows that intermediate scrutiny does not require

this level of fine tuning, as the Supreme Court found that a content-neutral regulation “need not be




75
   Hous. Chron. Pub. Co. v. City of League City, 488 F.3d 613, 622 (5th Cir. 2007); United States v. Green,
293 F.3d 855, 859 n.20 (5th Cir. 2002); Peavy v. WFAA-TV, Inc., 221 F.3d 158, 192 (5th Cir. 2000).
76
   See, e.g., City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 438 (2002); Went For It, Inc., 515 U.S.
at 628; Doe I v. Landry, 909 F.3d 99, 109–10 (5th Cir. 2018).
77
   U.S. WeChat Users All. v. Trump, 488 F. Supp. 3d 912, 917, 927 (N.D. Cal. 2020).
78
   Ward v. Rock Against Racism, 491 U.S. 781, 801 (1989).
79
   See id. at 800; United States v. Albertini, 472 U.S. 675, 689 (1985).
                                                      12
the least restrictive or least intrusive means” to achieve the state’s interests. 80

        Third, Coalition wants to invalidate Texas’s partial ban due to its impact on a small fraction of

the state workforce. Ward shows that this Court’s analysis must instead (1) focus “on the relation

[Texas’s partial ban] bears to the overall problem the government seeks to correct, not on the extent

to which it furthers the government's interests in an individual case” and (2) judge the effectiveness

of this ban “by considering all the varied groups” impacted by this policy. 81 Coalition did not show

that Texas’s partial ban is overbroad when considering that the state employs hundreds of thousands

of individuals, 82 each of whom is a potential vector for a CCP-sponsored cyberattack. 83

        Finally, Ward found the alternative channels requirement “easily met” when the regulation

“d[id] not attempt to ban any particular manner or type of expression at a given place or time.” 84 The

same is true here: Texas’s partial ban leaves users free to say anything they want on or about TikTok,

and they can still access this platform through personal devices not connected to state networks. In

sum, there are no grounds for finding that Texas’s limited TikTok ban violates the First Amendment.

                 4.      Coalition’s Arguments do Not Change the Analysis Above.

                         (a)      “NTEU ” Scrutiny does Not Apply to Nonpublic Forums.

        Coalition likens Texas’s partial ban to a prior restraint on speech, and thus it asks this Court

to apply a higher level of constitutional scrutiny known as “NTEU” scrutiny. 85 It missed that prior

restraints in nonpublic forums are still subject only to a “reasonableness” review. 86 Thus, in Freedom From




80
   Ward, 401 U.S. at 799.
81
   Ward, 401 U.S. at 801; see also Albertini, 472 U.S. at 688–89; Moore v. Brown, 868 F.3d 398, 404 (5th
Cir. 2017).
82
   See Overview, TEX. AUDITOR’S OFFICE, https://tinyurl.com/3beham52.
83
   See ECF 21, 28–29; see also Frkuska Decl., ¶ 6.
84
   Ward, 401 U.S. at 802.
85
   ECF 20, 10–24.
86
   Perry v. McDonald, 280 F.3d 159, 171 (2d Cir. 2001); Milwaukee Police Ass’n v. Jones, 192 F.3d 742, 749
(7th Cir. 1999).
                                                      13
Religion Foundation v. Abbott, which involved a prior restraint in a nonpublic forum, the Fifth Circuit

applied the lower “reasonableness” standard, as opposed to something resembling strict scrutiny. 87

The reasoning is simple. Nonpublic forums exist only when the government places limits in advance

on what or where speech can occur on government property. Considering every such limit to be a

“prior restraint” would eviscerate decades of Supreme Court precedent (1) distinguishing between

public and nonpublic forums and (2) applying lighter scrutiny to the latter. 88

        For similar reasons, a content-neutral time, place, or manner regulation in a traditional or

designated forum receives only intermediate scrutiny, not the more exacting scrutiny applied to other

prior restraints. As the Supreme Court explained in Thomas v. Chicago Park Dist., prior restraints on the

subject matter of speech raise censorship concerns that warrant strict scrutiny. 89 “[B]ut [a] content-

neutral time, place, and manner regulation of the use of a public forum” generally does not raise such

concerns as it does not restrict “what a speaker might say.” 90 Thus, such content-neutral regulations,

even when considered a “prior restraint,” still receive only intermediate scrutiny. 91

        Another problem for Coalition is this case involves access, not speech, and “[t]he right of access

does not enjoy the broad protections offered to the right of free speech.” 92 Further, the fact that

Texas’s ban leaves individuals free to say anything they want on or about TikTok weighs heavily against

Coalition’s claims. 93




87
   955 F.3d 417, 429 (5th Cir. 2020); see also Catholic Leadership Coal. of Tex. v. Reisman, 764 F.3d 409,
438–39 (5th Cir. 2014).
88
   See, e.g., Perry, 280 F.3d at 171.
89
   534 U.S. 316, 321–22 (2002).
90
   Id. at 322.
91
   Forsyth Cnty., Ga. v. Nationalist Movement, 505 U.S. 123, 130 (1992); GEFT Outdoor, LLC v. Monroe
Cnty., Indiana, 62 F.4th 321, 327 (7th Cir. 2023).
92
   Matter of Subpoena 2018R00776, 947 F.3d 148, 155–56 (3d Cir. 2020).
93
   See, e.g., Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32–34 (1984).
                                                   14
                         (b)     Coalition’s “Interests” Analysis is Deeply Flawed.

        Coalition uses the balancing test designed for First Amendment retaliation claims in the

employment context. 94 This test is a bad fit here, as Texas’s ban is not limited to employees (it bars

anyone from accessing TikTok on state networks). 95 And the ban lets state employees say anything they

want on or about TikTok, in contrast to the normal First Amendment employment case where the

government retaliates against an employee for his or her speech on a particular issue.

         Regardless, Coalition loses even under an employment-based First Amendment test. As

explained above, Texas’s ban survives the generally applicable forum analysis. This means the ban must

be constitutional under an employment-based test, as “[a] government entity has broader discretion

to restrict speech when it acts in its role as employer.” 96 Put differently, that a government workplace

is implicated lessens, not raises, the government’s burden in this context.

        What’s more, Texas’s asserted interests for its partial ban—public safety, privacy, and

security—fit comfortably within the First Amendment employment test. Were the law otherwise CIA

employees could not be stopped from using harmful software, as national security would not be a

viable government interest in the employment context. U.S. Social Security Administration employees

could not be barred from disclosing individuals’ social security numbers to the world, as the federal

government could not restrict employee speech due to privacy concerns, and so on.

        Further, the Supreme Court has recognized the “effective functioning of the public employer’s

enterprise” as a viable government interest in the employment context. 97 This category is broad

enough to encompass well-recognized interests like the ones Texas asserts here. And Coalition’s

argument on this point—that national security, public safety, and privacy are no longer valid



94
   See ECF 20, 10–23.
95
   Id. at 15–16.
96
   Garcetti v. Ceballos, 547 U.S. 410, 418 (2006); see also Waters v. Churchill, 511 U.S. 661, 671–72 (1994).
97
   Rankin v. McPherson, 483 U.S. 378, 388 (1987).
                                                     15
government interests in the employment free speech context—borders on the absurd.

        The dangers from TikTok are real—the actions of many states and countries that have partially

banned this application prove that point better than words ever could. While Coalition believes all

these governments are unreasonable, it didn’t offer facts plausibly supporting this conclusion.

                5.      Schneier’s Declaration does Not Meaningfully Impact this Litigation; if
                        Anything, His Writings Hurt Coalition’s Position.

        Coalition leans on a declaration from its cybersecurity expert, Bruce Schneier. 98 Yet Schneier’s

declaration and other writings ultimately show why Texas’s partial TikTok ban is constitutional.

                        (a)     All Parties Agree that the CCP’s Ability to Exploit TikTok Poses
                                a Significant Risk to the United States’ Interests.

        Per Schneier, TikTok and ByteDance are “shady” companies that “operate at the pleasure of

the Chinese government.” 99 A report he co-authored for the Hoover Institution (the “Hoover

Report”)—cited multiple times in his declaration 100—clarifies the scope of the threat at issue here. 101

        The Hoover Report found that a “foreign adversary like the Chinese government” could use

user data to “discover highly granular information about particular individual[s] or group attributes.” 102

This creates “significant risks” for the United States, as the CCP could use this data “for identity

exploitation, influence, and control.” 103 The Hoover Report identified ByteDance as having a

particularly “immense data set” that could be exploited by the CCP. 104

        In the opening paragraph of its complaint, Coalition contends that Texas’s TikTok ban is



98
   See ECF 20-3.
99
    Banning TikTok, SCHNEIER ON SECURITY (Feb. 27, 2023), https://tinyurl.com/4f4xh66p; see also
ECF 20-3, ¶ 5 (in which Schneier admits that “Schneier on Security” is his blog).
100
    ECF 20-3, ¶¶ 5, 21, 24, 37, 44, 50.
101
    See Gary Corn, Jennifer Daskal, Jack Goldsmith, Chris Inglis, Paul Rosenzweig, Samm Sacks, Bruce
Schneier, Alex Stamos & Vincent Stewart, Chinese Technology Platforms Operating in the United States,
HOOVER INST. (the “Hoover Report”), available at https://tinyurl.com/2zvprv4y.
102
    Id. at 4.
103
    Id.
104
    Id. at 6.
                                                    16
overbroad as it is not limited to “state employees who have access to especially sensitive information

or locations.” 105 The Hoover Report undercuts this point. Per this Report, even data belonging to

individuals without access to classified information “can be collected and aggregated” in a way that

creates “national security risks.” 106 For instance, if an individual is “connected with” or “linked to” a

person with sensitive information, the individual and his connected devices become “potential vectors

for a malicious actor to gain access to sensitive data and systems.” 107 For another example, the data of

an individual who “is not a valuable source or target . . . can be combined with others—thus becoming

a data point that subsequently enables an actor to carry out better targeting [and] analysis.” 108 Per the

Report, this could “enable[] a foreign adversary like China to glean valuable information about patterns

of behavior, interests, and predispositions that could in turn be used to inform future intelligence,

cyber, and information operations.” 109

        In sum, all parties agree that the CCP’s ability to exploit Chinese-controlled technology

platforms like TikTok presents a significant risk to United States’ interests. And while Schneier calls a

partial TikTok ban “ineffective,” 110 he really means that it is not as effective as more comprehensive

measures. Put simply, Coalition does not meaningfully dispute that Texas’s partial ban will at least

make it harder for the CCP to access state networks, harvest state employees’ data, or otherwise

influence state employees’ actions. This is all that is needed to survive a narrow tailoring analysis.

                         (b)     If Texas’s Partial TikTok Ban is Unconstitutional, So Too is the
                                 Biden Administration’s.

        One problem with Schneier’s arguments is that they apply equally to the Biden




105
    ECF 1, ¶ 1.
106
    Hoover Report, supra note 101, 5.
107
    Id.
108
    Id.
109
    Id.
110
    ECF 20-3, ¶ 16.
                                                   17
Administration’s TikTok ban. Schneier claims that the federal ban “appear[s] to cover a narrower set

of employees or contain important exceptions that are missing from the Texas ban.” 111 This is false.

The Biden Administration’s ban “applies to all executive agencies.” 112 Further, the federal ban covers

the “use or presence” of TikTok on all “information technology,” which is defined broadly enough

to cover the use of TikTok on a personal device connected to federal networks. 113 Moreover, the

federal’s exceptions ban are limited only to “law enforcement activities, national security interests and

activities, and security research” and they are granted only when an exception is “critical to [the

agencies’] mission.” 114 None of these exceptions apply here, for obvious reasons.

                        (c)     Texas is Not Required to Fix All Privacy Issues Before Acting to
                                Stop the CCP from Exploiting its Access to TikTok.

        Schneier claims that Texas could have: (1) enacted comprehensive privacy legislation; (2)

required TikTok to store Americans’ data in the U.S.; (3) tried to mitigate the spread of disinformation;

and (4) established evaluation and testing centers for TikTok. 115 He acts as if Texas cannot stop the

CCP from exploiting TikTok unless the state fundamentally reforms the trillion-dollar enterprise of

mining personal data. 116 Our country would grind to a halt if federal and state governments could only

fix one problem by solving all other associated issues. Of course, that is not how our Constitution

works: “The First Amendment does not put a State to [an] all-or-nothing choice.” 117

        Equally troubling, Schneier does not account for the obvious constitutional problems with his

identified “solutions.” For instance, he proposes that Texas “require TikTok and other platforms to




111
    Id. at ¶ 14.
112
    February 27th Memorandum, supra note 23, at II (emphasis added).
113
    Id. at II–III; 40 U.S.C § 11101(6).
114
    February 27th Memorandum, supra note 23, at IV.A.
115
    ECF 20-3, ¶¶ 21, 44–47, 50.
116
    See Nicholas Confessore, The Unlikely Activists Who Took On Silicon Valley—and Won, N.Y. TIMES
MAGAZINE (Aug. 14, 2018), https://tinyurl.com/y946nj6n.
117
    Williams-Yulee v. Florida Bar, 575 U.S. 433, 452 (2015).
                                                   18
disclose its contacts and connections with foreign governments.” 118 This could raise First Amendment

compelled speech issues. 119 And he says Texas could comprehensively test TikTok or otherwise

require it to store data in the U.S. 120 This is problematic in part due to the Foreign Commerce Clause. 121

        Also, Schneier never explains how much time, money, and manpower his comprehensive

proposals would cost Texas. And he admitted elsewhere that one of his proposals—storing TikTok’s

data in the U.S.—wouldn’t even work. 122 If Schneier’s alternatives were so obvious and easy, state and

federal governments would have adopted them a long time ago. But the devil is in the details. And

there are a whole lot of “devils” in Schneier’s proposals.

                         (d)     Schneier’s Narrower Proposals are Legally Irrelevant.

        Schneier proposes that Texas (1) limit its ban to employees with especially sensitive

information or (2) allow access to TikTok on dedicated devices or networks not connected to the state

agency at large. 123 Yet the Hoover Report found that limiting a ban to employees with sensitive

information would not work, and it noted some ways a foreign adversary could exploit such a

vulnerability. Also, this solution is impractical here as most UNT employees have access to sensitive

data in at least some way—like information protected by the Family Educational Rights and Privacy

Act. 124 As to Schneier’s “dedicated device” proposal, state employees would still be giving their

personal information to TikTok, and the Hoover Report found that the Chinese government could

exploit such data for “future intelligence, cyber, and information operations.” 125




118
    ECF 20-3, ¶ 47.
119
    See, e.g., Amawi v. Pflugerville Indep. Sch. Dist., 373 F. Supp. 3d 717, 754 (W.D. Tex. 2019), vacated and
remanded sub nom. Amawi v. Paxton, 956 F.3d 816 (5th Cir. 2020).
120
    ECF 20-3, ¶¶ 46, 50.
121
    See Piazza’s Seafood World, LLC v. Odom, 448 F.3d 744, 750 (5th Cir. 2006).
122
    Hoover Report, supra note 101, 2–3.
123
    ECF 20-3, ¶¶ 48–49.
124
    See Anderson Decl., ¶¶ 16–18.
125
    Hoover Report, supra note 101, 5.
                                                     19
        More importantly, Schneier’s alternatives are irrelevant. As explained above, Ward shows that

Texas’s partial ban isn’t invalid just because there are hypothetical less restrictive means to achieve the

state’s interests. Ward also rejected Schneier’s narrow framing of the issue—as he focuses on how the

ban impacts a sliver of state employees, instead of on the “overall problem” Texas is trying to solve.

II.     The Remaining Preliminary Injunction Factors Favor Defendants.

        The harm to Coalition’s members is minor. Coalition identified only one member whose

scholarship about TikTok is limited by Texas’s partial ban. And this one person admits she can access

TikTok and teach about this platform in other ways. 126 Further, a wrongful injunction could be

catastrophic. It would open a vulnerability in Texas’s network that the CCP could exploit to wreak

havoc on the state’s operations and employees. The status quo also favors Defendants, as Coalition’s

members have operated under a partial TikTok ban ever since the December 7, 2022 Directive. Finally,

this Court has held that an unjustified six-month delay in seeking emergency relief weighs against

issuing a preliminary injunction. 127 Coalition delayed longer than that here.

                                             CONCLUSION

        For the reasons above, this Court should deny Coalition’s motion for a preliminary injunction.

Date: October 25, 2023                           Respectfully Submitted.

                                                 KEN PAXTON
                                                 Attorney General of Texas

                                                 BRENT WEBSTER
                                                 First Assistant Attorney General

                                                 GRANT DORFMAN
                                                 Deputy First Assistant Attorney General

                                                 JAMES LLYOD
                                                 Deputy Attorney General for Civil Litigation


  ECF 20-2, ¶¶ 53–56.
126

  See Digerati Distribution & Marketing, LLC v. Sarl, No. 1:22-CV-01302-DII, 2023 WL 5687040, at *3
127

(W.D. Tex. Aug. 2, 2023).
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                                              KIMBERLY GDULA
                                              Acting Division Chief, General Litigation Division

                                              /s/ Todd Dickerson
                                              TODD A. DICKERSON
                                              Attorney-in-Charge
                                              Texas Bar No. 24118368
                                              Todd.Dickerson@oag.texas.gov
                                              Assistant Attorney General
                                              Office of the Attorney General
                                              P.O. Box 12548-Capitol Station
                                              Austin, Texas 78711-2548
                                              (512) 463-2120
                                              FAX: (512) 320-0667
                                              COUNSEL FOR DEFENDANTS

                                    CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2023, a true and correct copy of the foregoing instrument
has been served electronically through the electronic-filing manager to:

Peter B. Steffensen
SMU Dedman School of Law
First Amendment Clinic
P.O. Box 750116
Dallas, TX 75275
(214) 768-4077
psteffensen@smu.edu

Jameel Jaffer*
Ramya Krishnan*
Stacy Livingston*
Knight First Amendment Institute
at Columbia University
475 Riverside Drive, Suite 302
New York, NY 10115
(646) 745-8500
jameel.jaffer@knightcolumbia.org
COUNSEL FOR PLAINTIFF


                                              /s/ Todd Dickerson




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